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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CARNEGIE INSTITUTION OF
WASHINGTON and M7D CORPORATION,

                 Plaintiffs,
                                                Case No. 20-cv-189 (JSR)
           v.

PURE GROWN DIAMONDS, INC. and
IIA TECHNOLOGIES PTE. LTD. d/b/a
IIA TECHNOLOGIES,

                 Defendants.




          LOCAL CIVIL RULE 56.1 STATEMENT OF MATERIAL FACTS
      IN SUPPORT OF DEFENDANTS PURE GROWN DIAMONDS, INC. AND
    IIA TECHNOLOGIES PTE. LTD.’S MOTION FOR SUMMARY JUDGMENT



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         Pursuant to Local Civil Rule 56.1(a), Defendants Pure Grown Diamonds, Inc. (“PGD”)

and IIa Technologies Pte. Ltd. d/b/a/ IIa Technologies (“2AT”) respectfully submit this

Statement of Material Facts in support of their Motion for Summary Judgment.

I.       THE ’078 PATENT

         1.      U.S. Patent No. 6,858,078 (“the ’078 Patent”) issued on February 22, 2005, and

claims priority to Provisional Application No. 60/331,073, filed on November 7, 2001. Ex. 1.1 It

is titled “Apparatus and Method for Diamond Production,” and names Drs. Russell J. Hemley,

Ho-kwang Mao, Chih-shiue Yan, and Yogesh Vohra as inventors.

         2.      Plaintiffs assert that Defendants infringe claims 1, 6, 11, 12, 16, and 20 of the

’078 Patent. Ex. 2.

         3.      The asserted claims of the ’078 Patent recite:

                 1. A method for diamond production, comprising:

                 controlling temperature of a growth surface of the diamond such that
                      all temperature gradients across the growth surface are less
                      than 20° C.; and

                 growing single-crystal diamond by microwave plasma chemical
                      vapor deposition on the growth surface at a growth
                      temperature in a deposition chamber having an atmosphere
                      with a pressure of at least 130 torr.

                 6. The method of claim 1, wherein the pressure is 130-400 torr.

                 11. The method of claim 1, wherein a growth rate of the single-
                      crystal diamond is 1 to 150 micrometer per hour.

                 12. A method for diamond production, comprising:




1
    Exhibits 1 through 57 are attached to the accompanying Declaration of J. Preston Long.


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               controlling temperature of a growth surface of the diamond such that
                    all temperature gradients across the growth surface are less
                    than 20° C.; and

               growing single-crystal diamond by microwave plasma chemical
                    vapor deposition on the growth surface at a temperature of
                    900–1400° C.

               16. The method of claim 12, wherein a pressure of an atmosphere in
                    which diamond growth occurs is 130-400 torr.

               20. The method of claim 12, wherein a growth rate of the single-
                    crystal diamond is 1 to 150 micrometer per hour.

Ex. 1 at 14:64–15:63.

       4.      Plaintiffs no longer assert claim 15 against Defendants. Ex. 2 at 3. Claim 15

depends on claim 12 and recites:

               15. The method of claim 12, wherein the atmosphere further
                    includes 1-3% oxygen per unit of hydrogen.

Ex. 1 at 15:44-45.

       5.      When providing a Background of the Invention, the ’078 Patent acknowledges

that growing diamond by MPCVD at lower temperatures and pressures was known, providing

various examples of such processes and criticizing them. Id. at 1:15-59.

       6.      The ’078 Patent identifies a problem with respect to single-crystal diamond

growth, stating that “[t]ypically, attempts to produce single-crystal diamond at growth rates

higher than about one micrometer per hour result in heavily twinned single crystal diamonds,

polycrystalline diamond, or no diamond at all.” Id. at 1:56-59.

       7.      The ’078 Patent then states that “Precise control over growth surface temperatures

and growth surface temperature gradients prevents the formation of polycrystalline diamond or

twins such that a large single crystal diamond can be grown.” Id. at 6:48-54; see also id. at 4:51-

55, 5:1-10, 13:25-27, 13:66-14:1.




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       8.      The ’078 Patent describes each of Figures 1, 3, and 5 as “a diagram of a diamond

production apparatus according to [an] embodiment of the present invention in which a cross-

section of deposition apparatus with a specimen holder assembly . . . is depicted.” Id. at 3:26-30,

3:31-40, 3:44-48.

       9.      Figures 1 through 5 of the ’078 Patent each depict aspects of a sample holder that

makes thermal contact with the side surfaces of a growing diamond. Id. at 4:44-55, 5:34-47,

8:23-46, 9:30-37, 9:66-10:54, Figs. 1-5.

       10.     According to the ’078 Patent, the sample holder acts as a heat-sink to prevent the

formation of twins or polycrystalline diamond along the edges of the growth surface of the

diamond. Id. at 4:51-55, 5:31-34.

       11.     According to the ’078 Patent, the growth surface should extend 0 to 1.5 mm

above the top of the sample holder. Id. at 5:1-10. By minimizing the electrical effect the substrate

holder has on the plasma, higher reactor pressures (specifically, 130–400 torr) can be used. Id. at

9:48-65.

       12.     The ’078 Patent describes two processes for using these substrate holders and for

how to position the diamond. Id. at 10:55-58, 11:12-31, 11:60-64, 12:6-46, Figs. 6, 7. In both, a

pyrometer is used to measure a temperature gradient across the growth surface. Id. at 11:1-21,

12:6-20. If a temperature gradient less than 20º C. cannot be maintained, the growth process is

halted, and the diamond is repositioned. Id. at 11:12-42, 12:21-46;

       13.     The ’078 Patent describes measuring temperature gradients during the growth

process and using that information to adjust the process. See ’078 Patent at 2:12-25, 2:45-56,

6:65-7:46, 7:66-8:18, 9:66-10:20, 11:1-59, 12:6-13:3; Figs. 6, 7.




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       14.        The ’078 Patent states that “[t]he ability to control all of the temperature gradients

across the growth surface of the diamond 136 is influenced by several factors,” including:

                  the heat sinking capability of the stage 124, the positioning of the
                  top surface of the diamond in the plasma 141, the uniformity of the
                  plasma 141 that the growth surface of the diamond is subjected to,
                  the quality of thermal transfer from edges of the diamond via the
                  holder or sheath 134 to the stage 124, the controllability of the
                  microwave power, coolant flow rate, coolant temperature, gas flow
                  rates, reactant flow rate and the detection capabilities of the infrared
                  pyrometer 142.

Id. at 6:55-65.

       15.        The ’078 Patent states that growth usually continues as long as the diamond “is

smooth in nature, without isolated ‘outcroppings’ or twins.” Id. at 13:4-10. It further states that

this condition “may be verified visually.” Id.

       16.        According to the ’078 Patent, the process temperature can be selected from 900–

1400° C., depending on whether oxygen is used. Id. at 13:22-24.

       17.        The ’078 patent provides the table below to show the results of different

temperatures without the use of oxygen. Id. at 14:8-28, tbl. 1.




       18.        The ’078 Patent teaches using a pressure of about 130-400 torr. Id. at 13:27-29.




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       19.     The ’078 Patent provides two examples of diamonds grown according to the

described methods. Id. at 13:38-14:39. In Example 1, the pressure was 160 torr, the temperature

was 1220º C., the methane concentration was 12% (CH4/H2), and the nitrogen concentration was

3% (N2/CH4). Id. at 13:51-55. The resulting diamond grew to a thickness of 0.7 mm. Id. at

13:57-59. It had only “a small degree of polycrystallinity localized at the top edges.” Id. at

13:66-14:1. Example 2 was grown to 0.6 mm thick using the same conditions as Example 1,

except 1–3% oxygen was added, and the temperature was 900º C. Id. at 14:30-34. According to

the ’078 Patent, the additional oxygen allows a lower growth temperature. Id. at 14:34-37.

       20.     To provide “[a]dditional information with regard to the diamond produced in the

examples described above,” the ’078 Patent expressly incorporates by reference “Very High

Growth Rate Chemical Vapor Deposition of Single-Crystal Diamond' Proceedings of the

National Academy of the Sciences, Oct. 1, 2002, volume 99, no. 20., pages 12523-12525,”

(hereinafter “Yan-3”) a scientific paper by the inventors. Id. at 14:43-49 (citing Ex. 3).

       21.     Yan-3 describes a diamond grown using a pressure of 160 torr, a temperature of

1220º C., a methane concentration of 12% (CH4/H2), and a nitrogen concentration of 3%

(N2/CH4). Ex. 3 at 1-2. The resulting diamond was 0.7 mm thick. Id. at 2. It had only “a small

degree of polycrystallinity or twinning” that was “localized on the edge.” Id. A picture of that

diamond appears below.




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                                           Ex. 3 at Fig. 1

         22.




         23.    Yan-3 states that “the growth morphology and color strongly depend on

temperature,” and teaches that “spherical black diamond-like carbon was produced below

1,000° C . . . .” Ex. 3 at 1.

II.      THE 078 PATENT IS NOT INFRINGED AND IS INVALID

         A.     THE ASSERTED 078 PATENT CLAIMS ARE NOT INFRINGED

                1.       Defendants do not infringe the ’078 Patent, literally or under the
                         doctrine of equivalents

                         a.     Defendants and Development of 2AT’s Accused Process

         24.    2AT is the only Defendant that grows diamonds. Ex. 5 at 38:11-39:14; Ex. 6 at

49:2-9, 53:14-54:1, 76:10-18.

         25.    2AT grows diamonds outside the United States, in Singapore. Ex. 5 at 38:11-

39:14.


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38.




39.




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40.




41.




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42.




43.




44.




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       52.




       53.       Dr. Vohra explained that adjusting the microwave power controls temperature,

not temperature gradients. Ex. 18 at 162:6-163:1, 179:23-180:9, 211:17-213:19.

       54.       Adjusting the power of a plasma source to control temperature during diamond

growth was known before the application for the ’078 Patent was filed. See Ex. 19 at 6:6-17; Ex.

20 at 1:63-67.

       55.




       56.



       57.




3
 2AT produced images of several dozen similar examples that can be made available at the
Court’s request. They are collected in Exhibit 79 of the Rebuttal Expert Report of Dr. Nebel
Regarding Non-Infringement of the ’078 Patent.



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       58.



        4



       59.



                      c.     2AT’s Process Data

       60.




4
 2AT produced images of several dozen similar examples that can be made available at the
Court’s request. They are collected in Exhibit 80 of the Rebuttal Expert Report of Dr. Nebel
Regarding Non-Infringement of the ’078 Patent.
5
                               are voluminous but can be made available at the Court’s request.
PDF versions of the reports are located at Carnegie_189_2AT-00144859 through 144982;
Carnegie_189_2AT-00145040 through 145194; Carnegie_189_2AT-00145256 through 145530;


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Carnegie_189_2AT-00145585 through 145741; Carnegie_189_2AT-00145780 through 145904;
and Carnegie_189_2AT-00145907 through 145927.
6
                             are voluminous but can be made available at the Court’s request.
PDF versions of the reports are located at Carnegie_189_2AT-00000577 through 56564. Excel
spreadsheets containing the data from the Growth Logs are located at Exhibits 105 through 110
of the Rebuttal Expert Report of Dr. Nebel Regarding Non-Infringement of the ’078 Patent.
7
                             are voluminous but can be made available at the Court’s request.
PDF versions of the reports are located at Carnegie_189_2AT-00056565 through 104356. Excel
spreadsheets containing the data from the Growth Logs are located at Exhibits 111 through 116
of the Rebuttal Expert Report of Dr. Nebel Regarding Non-Infringement of the ’078 Patent.



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       62.




       63.     After examining the

information provided by 2AT, Defendants’ expert Dr. Nebel found



       64.



                                                                         .

       65.     Defendants’ expert Dr. Nebel analyzed the

                    . Ex. 12 at ¶ 533. He also examined the     and testimony from 2AT’s

witnesses. See id. Dr. Nebel found that the data confirms the     and testimony. Id. Dr. Nebel




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       67.     Plaintiff M7D’s CTO Yarden Tsach testified




                       d.      2AT’s Rough Diamond Blocks

       68.     Plaintiffs’ expert Dr. Capano acknowledges




       69.     Dr. Yogesh Vohra, one of the inventors named on the ’078 Patent, testified that

“in this field, even if you know there is one twin, then it’s not a single crystal.” Ex. 18 at 81:7-

11.

       70.     Dr. Vohra testified that if there are black spots on the surface, “[t]hat’s definitely

twinning” and “definitely not single crystal.” Id. at 82:3-17. “Visually, you can tell.” Id.


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       99.      M7D’s documents state



       100.     M7D’s documents state




       101.     M7D’s documents state,




       102.     Dr. Yogesh K. Vohra, a named inventor of the ’078 Patent, testified that one of

the key innovations of the ’078 Patent was control of thermal gradients “by a proper heat sink

design of the substrate hold[er].” Ex. 18 at 162:6-163:1; see also id. at 211:24-213:19.

       103.     Dr. Vohra testified that uniformity of temperature on the growth surface “really

depends on the substrate holder design, which is critical in controlling the uniformity of

temperature.” Id. at 129:1-19; see also id. at 129:8-19, 153:16-22, 154:11-18, 179:23-180:9,

189:12-190:6.

       104.     Dr. Vohra testified that the temperature of the growth surface is not the same as

the temperature gradients on the growth surface. See id. at 211:23-212:24.

       105.     Dr. Vohra testified that temperature and temperature gradient are controlled by

different techniques: Temperature is controlled by adjusting the microwave power or the distance

of the diamond relative to the plasma, id. at 213:5-10, whereas temperature gradients, are

controlled by using a substrate holder that provides heat-sinking to the side surfaces of the

diamond. Id. at 162:6-163:1, 179:23-180:9, 213:11-19




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          106.   The other three named inventors of the ’078 Patent—Drs. Russell J. Hemley,

Ho-Kwang Mao, and Chih-shiue Yan—authored an article stating that “[o]ne of the critical

issues in diamond synthesis employing an MPCVD reactor is the behavior of plasma-substrate

and plasma-substrate holder interactions.” Ex. 30 at 3.

          107.   Dr. Vohra testified that “it’s really a complicated, complicated thing to consider

what effect different [MPCVD process] parameters have.” Ex. 18 at 42:5-20. He further testified

that “it’s really a multiparameter space . . . changing one parameter can give you [a] new

answer.” Id. at 56:1-22; see also id. at 214:2-21. He agreed that “if you change one thing in the

system, it might affect other things.” Id. at 47:4-18.

          108.   When asked how density of the microwave plasma affect the growth rate, Dr.

Vohra testified that “I would hesitate to make a generalized statement because it’s so design

specific.” Id. at 46:20-47:3.

          109.   One of Dr. Vohra’s students remarked in a 2009 dissertation that “[a]ny small

variation in growth conditions can lead to huge changes in the behavior of growth radicals in the

plasma and near the substrate surface and it is nearly impossible to account for all possible

changes in a theoretical explanation.” Ex. 31 at 53; Ex. 18 at 214:2-21.

          110.   More than a decade after the ’078 Patent filing date, inventor Hemley

acknowledged that “[t]he details [of CVD diamond growth] are still not completely understood.”

Ex. 32.

          111.   Carnegie and the University of Alabama (UAB) previously shared ownership the

’078 Patent. Ex. 33; Ex. 49.

          112.




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       113.    A representative from UAB stated in an email to Carnegie




       114.    With respect to                              M7D’s process, Yarden Tsach,

M7D’s Chief Technical Officer and corporate representative on technical matters, testified




       115.




               2.      Claims 12, 16, and 20 of ’078 patent are invalid for lack of written
                       description because the inventors did not possess the full scope of
                       claims as written

       116.    Dr. Vohra, one of the named inventors of the ’078 Patent, confirmed during his

deposition that “below a 1000 degrees C without oxygen, [he] grew spherical black diamond-like

carbon” and that it was the addition of oxygen that allowed him to reduce the growth temperature

to grow diamond. Ex. 18 at 126:20-25.

       117.    When asked about Table 1 in the ’078 Patent, Mr. Tsach, M7D’s CTO and

corporate representative on technical matters, testified,




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III.   THE ’189 PATENT

       118.    U.S. Reissue Patent RE41,189 (“the ’189 Patent”) issued on April 6, 2010, and

reissued from U.S. Patent No. 6,811,610 (“the ’610 Patent”). Ex. 39. The ’189 Patent is titled

“Method of Making Enhanced CVD Diamond,” and names Drs. Wei Li, Russell J. Hemley, Ho-

kwang Mao, and Chih-shiue Yan as inventors. U.S. Application No. 10/161,266, which issued as

the ’610 Patent, was filed on June 3, 2002. Id.

       119.    Plaintiffs assert that 2AT’s annealing process infringes claims 1 and 2 of the ’189

Patent. Ex. 2 at 3; Ex. 10 at ¶¶ 365-66.

       120.    The asserted claims of the ’189 Patent recite;

               1. A method to improve the optical clarity of CVD diamond where
                    the CVD diamond is single crystal CVD diamond, by raising
                    the CVD diamond to a set temperature of at least 1500° C. and
                    a pressure of at least 4.0 GPA outside of the diamond stable
                    phase.


               2. The method of claim 1 wherein the CVD diamond is a single
                    crystal coating upon another material.

Ex. 39 at 4:10-16.

       121.    Plaintiffs specifically contend that 2AT’s annealing process improves the optical

clarity of the annealed diamond as recited in the preamble limitation of claim 1 of the ’189

patent. Ex. 2 at 3; Ex. 10 at ¶ 367.

       122.    The ’189 Patent states:

               It would be advantageous if a method were devised that would
               significantly improve the properties of CVD diamond after it is
               grown. It would also be desirable to form CVD diamond with fewer
               defects that serve to degrade the intrinsic properties of a perfect



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                  crystalline diamond material in order to enhance its usage in many
                  applications.

Id. at 1:44-49.

        123.      The ’189 patent states that “treating CVD diamond at high pressure and high

temperature (HPHT) causes the optical properties to change so much that opaque material

become clear.” Id. at 2:29-32.

        124.      The ’189 Patent states:

                  Possibly, internal atoms shift position to more correctly align
                  themselves to the diamond crystalline structure or perhaps the
                  bonding mechanism shifts such that SP2 type bonds become
                  SP3 type bonds causing carbon atoms to change from impurity status
                  to becoming part of the diamond crystal lattice.

Id. at 2:23-28.

        125.      The ’189 Patent states:

                  It would be advantageous if a method were devised that would
                  significantly improve the properties of CVD diamond after it is
                  grown. It would also be desirable to form CVD diamond with fewer
                  defects that serve to degrade the intrinsic properties of a perfect
                  crystalline diamond material in order to enhance its usage in many
                  applications.

Ex. 39 at 1:44-49.

        126.      High Pressure/High Temperature (“HPHT”) annealing can alter a diamond’s

atomic and chemical structure and its physical properties.                      ; see Ex. 1 at 14:40-

42; Ex. 39 at 2:23-32;                          ;                     ,

                  ; Ex. 43 at 1:25-32, 1:51-53, 4:4-13, 7:51-57; Ex. 44 at 1193; Ex. 45 at 189;

Ex. 46 at 42.

        127.      Dr. Frushour, one of the named inventors on the patent that reissued as the ’189

Patent, testified




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          128.    Defendants’ expert Dr. De Weerdt provided an opinion that scientific literature

supports a finding that annealing significantly changes a diamonds’ atomic structure and physical

properties. See Ex. 40 at ¶¶ 82-84.

The report of Plaintiffs’ expert Dr. Capano




          129.    Claims 1 and 2 of the ’189 Patent do not provide a definition for the diamond-

graphite boundary. Ex. 39 at claims 1 and 2.

          130.    The specification of the ’189 Patent does not provide a definition for the

diamond-graphite boundary. Ex. 39.

          131.    The specification of the ’189 Patent mentions operating “where graphite is the

stable phase” and “within the graphite stable region.” Id. at 2:41-50. Specifically, the ’189 Patent

states:

          Thus, one would expect that when diamond is heated to temperatures above
          850° C., at pressures where graphite is the stable phase, significant
          degradation of the sample would result. However, very unexpected
          behavior occurs in CVD diamond at high temperatures where the pressure
          is raised above atmospheric pressure but still remains within the graphite
          stable region. Under certain conditions of temperature and pressure, CVD
          diamond does not degrade; instead the opposite occurs: the sample is
          transformed into a more perfect diamond crystalline material.

Id. at 2:41-50.

          132.    The Applicant’s remarks during the prosecution history of the ’189 Patent do not

provide a definition for the diamond-graphite boundary. See generally Ex. 47.




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Ex. 50 at Fig. 1.

       138.     Kennedy & Kennedy provides a definition for the diamond-graphite boundary as

follows:

                Our newly determined boundary has the equation P(kbar) = 19.4 +
                T (°C)/40 kbar.

Ex. 51 at 2467.

       139.     Berman & Simon provides a definition for the diamond-graphite boundary as

follows:

                It may be useful to give an equation for the equilibrium pressure
                above 12000 ° K. This is: –

                Pats = 7000 + 27T (°K)       T > 1200 °K



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144.   Dr. Capano recognizes




B.     THE ASSERTED ’189 PATENT CLAIMS ARE NOT INFRINGED



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       153.    Dr. Hemley testified that when it was published, Bundy “present[ed] the entire

phase diagram as we currently understand it.” Ex. 4 at 166:2-168:2; Ex. 49 at 1. Dr. Hemley

stated as follows:

           Q. It says, “The plan for this article is to present the entire phase
              diagram as we currently understand it and then discuss each part
              giving the salient references and brief descriptions of the work upon
              which it is based.” Do you see that?

           A. Yes.

           Q. Is that what this article does?

           A. Mm-hmm.

           ***

           Q. And in the text here on the same page under “The Phase and
              Reaction Diagram,” it says, “The topology of stability fields of the
              thermodynamically stable phases is quite simple: (i) the boundary
              between the graphite and diamond stable regions which runs from
              1.7 GPa/0 K, to the graphite/diamond/liquid triple point at about
              12GPa/5000K.” Is that referring to this line here?

           A. Yes.

           Q. Between 5,000 and zero?

           A. Yes, yes.

           Q. Is that the transition between the diamond and graphite stable
              regions of the phase diagram?

           A. That defines the thermodynamic boundary between graphite and
              diamond.

Ex. 4 at 167:19-168:24.

       154.




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